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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       2:24-MC-00012-DJC-AC
12                  Plaintiff,
                                                     STIPULATION AND ORDER EXTENDING TIME
13          v.                                       FOR FILING A COMPLAINT FOR FORFEITURE
                                                     AND/OR TO OBTAIN AN INDICTMENT
14   APPROXIMATELY $6,700.00 IN                      ALLEGING FORFEITURE
     U.S. CURRENCY,
15
                    Defendant.
16

17          It is hereby stipulated by and between the United States of America and potential claimant Daniel
18 Paiz (“claimant”), by and through their respective counsel, as follows:

19          1.      On or about October 16, 2023, claimant filed a claim in the administrative forfeiture
20 proceeding with the U.S. Postal Inspection Service with respect to the Approximately $6,700.00 in U.S.

21 Currency (hereafter “defendant currency”), which was seized on August 2, 2023.

22          2.      The U.S. Postal Inspection Service has sent the written notice of intent to forfeit required
23 by 18 U.S.C. § 983(a)(1)(A) to all known interested parties. The time has expired for any person to file a

24 claim to the defendant currency under 18 U.S.C. § 983(a)(2)(A)-(E), and no person other than claimant

25 has filed a claim to the defendant currency as required by law in the administrative forfeiture proceeding.

26          3.      Under 18 U.S.C. § 983(a)(3)(A), the United States is required to file a complaint for
27 forfeiture against the defendant currency and/or to obtain an indictment alleging that the defendant

28 currency is subject to forfeiture within ninety days after a claim has been filed in the administrative

                                                          1                      Stipulation and Order to Extend Time
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 1 forfeiture proceeding, unless the court extends the deadline for good cause shown or by agreement of the

 2 parties. That deadline was January 12, 2024.

 3          4.      By Stipulation and Order filed on January 11, 2024, the parties stipulated to extend to

 4 March 12, 2024, the time in which the United States is required to file a civil complaint for forfeiture

 5 against the defendant funds and/or to obtain an indictment alleging that the defendant currency is subject

 6 to forfeiture.

 7          5.      As provided in 18 U.S.C. § 983(a)(3)(A), the parties wish by agreement to further extend

 8 to June 10, 2024, the time in which the United States is required to file a civil complaint for forfeiture

 9 against the defendant currency and/or to obtain an indictment alleging that the defendant currency is

10 subject to forfeiture.

11          6.      Accordingly, the parties agree that the deadline by which the United States shall be

12 required to file a complaint for forfeiture against the defendant currency and/or to obtain an indictment

13 alleging that the defendant currency is subject to forfeiture shall be extended to June 10, 2024.

14 Dated: 3/4/2024                                        PHILLIP A. TALBERT
                                                          United States Attorney
15
                                                  By:     /s/ Kevin C. Khasigian
16                                                        KEVIN C. KHASIGIAN
                                                          Assistant U.S. Attorney
17

18 Dated: 3/4/2024                                        /s/ Jacek W. Lentz
                                                          JACEK W. LENTZ
19                                                        Attorney for potential claimant
                                                          Daniel Paiz
20
                                                          (Signature authorized by email)
21

22

23          IT IS SO ORDERED.

24
     Dated: March 4, 2024                                 /s/ Daniel J. Calabretta
25
                                                          THE HONORABLE DANIEL J. CALABRETTA
26                                                        UNITED STATES DISTRICT JUDGE

27

28

                                                          2                     Stipulation and Order to Extend Time
